                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:15-cr-00105-MOC-DCK

 UNITED STATES OF AMERICA,                    )
                                              )
                                              )
                                              )
 Vs.                                          )                     ORDER
                                              )
 CHARLES POTTS,                               )
                                              )
                 Defendant.                   )



         THIS MATTER is before the court on the government’s Motion to Dismiss. Having

considered the government’s motion and reviewed the pleadings, the court enters the following

Order.

                                         ORDER

         IT IS, THEREFORE, ORDERED that the government’s Motion to Dismiss (#108) is

GRANTED, and the indictment as to this defendant is DISMISSED without prejudice.




 Signed: November 10, 2015




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